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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION
                                        ______

STEVEN JON WILCOX,

                      Plaintiff,                   Case No. 2:20-cv-172

v.                                                 Honorable Paul L. Maloney

P. SUPNICK et al.,

                      Defendants.
____________________________/

                                         JUDGMENT

              In accordance with the opinion issued this date:

              IT IS ORDERED that Plaintiff’s action is DISMISSED WITH PREJUDICE for

failure to state a claim pursuant to 28 U.S.C. §§ 1915(e) and 1915A, and 42 U.S.C. § 1997e(c).



Dated:    October 19, 2020                         /s/ Paul L. Maloney
                                                   Paul L. Maloney
                                                   United States District Judge
